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 Information to identify the case:

                        Annetta McCalla                                                            Social Security number or ITIN:   xxx−xx−1546
 Debtor 1:
                                                                                                   EIN: _ _−_ _ _ _ _ _ _
                        First Name    Middle Name     Last Name

 Debtor 2:              Curtis McNeal                                                              Social Security number or ITIN:   xxx−xx−2479
 (Spouse, if filing)                                                                               EIN: _ _−_ _ _ _ _ _ _
                        First Name    Middle Name     Last Name

 United States Bankruptcy Court:     Southern District of Florida                                  Date case filed for chapter:             13      5/20/22

 Case number:          22−13983−PDR
Notice of Chapter 13 Bankruptcy Case

For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See boxes 8 and 12 below
for more information.)
You may want to consult an attorney to protect your rights. The bankruptcy clerk's office staff cannot give legal advice.
To help creditors correctly identify debtors, debtors must submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a Social Security or
Individual Taxpayer Identification Number in any document, including attachments, that you file with the court.
WARNING TO DEBTOR: Debtors must commence plan payments within 30 days of filing the chapter 13 petition or conversion to chapter 13.
Without further notice or hearing the court may dismiss your case for failure to timely pay filing fee installments, failure to appear at the
meeting of creditors or failure to be current with plan payments at the time of the meeting of creditors, and for failure to file a pre−bankruptcy
certification of credit counseling or file wage documentation. The case may also be dismissed or converted at the scheduled confirmation
hearing if the court denies confirmation of the pending plan under 11 U.S.C. § 1325 and denies a request made for additional time for filing
another plan or a modification of a plan.
                                                    About Debtor 1:                                                       About Debtor 2:
 1. Debtor's Full Name                              Annetta McCalla                                                       Curtis McNeal

 2. All Other Names Used
    in the Last 8 Years
                                                    1251 NW 51 Ave                                                        1251 NW 51 Ave
 3. Address                                         Lauderhill, FL 33313                                                  Lauderhill, FL 33313

       Debtor's Attorney                            Annetta McCalla                                                       Contact phone _____________
 4.    (or Pro Se Debtor)                           1251 NW 51 Ave
       Name and address                             Lauderhill, FL 33313

 5. Bankruptcy Trustee                              Robin R Weiner                                                        Contact phone 954−382−2001
       Name and address                             Robin R. Weiner, Chapter 13 Trustee
                                                    Post Office Box 559007
                                                    Fort Lauderdale, FL 33355

 6. Bankruptcy Clerk's                                                                                                    Hours open 8:30 a.m. − 4:00 p.m.
                                                    Federal Building
    Divisional Office Where                         299 E Broward Blvd, Room 112
                                                                                                                          Contact phone (954) 769−5700
    Assigned Judge is                               Ft Lauderdale FL 33301
    Chambered
      Documents filed conventionally in paper may be filed at any bankruptcy clerk's office location.                      Note: Contact the Clerk's Office at the number
      Documents may be viewed in electronic format via CM/ECF at any clerk's office public terminal                        listed above or check the court's website for
      (at no charge for viewing) or via PACER on the internet accessible at pacer.uscourts.gov                             reduced hours of operation for in−person
      (charges will apply). Case filing and unexpired deadline dates can be obtained by calling the                        filings.
      Voice Case Information System toll−free at (866) 222−8029. As mandated by the Department of
      Homeland Security, ALL visitors (except minors accompanied by an adult) to any federal building
      or courthouse, must present a current, valid, government issued photo identification (e.g. drivers'                  Clerk of Court: Joseph Falzone
      license, state identification card, passport, or immigration card.)                                                  Dated: 5/20/22

 7. **MEETING OF CREDITORS**                                                                                                      *MEETING WILL BE HELD BY
      Debtors must attend the meeting to be June 22, 2022 at 03:00 PM                                                                   TELEPHONE*
      questioned under oath. In a joint case,
      both spouses must be present with        The meeting may be continued or adjourned                               Trustee: Robin R Weiner
      required original government−issued to a later date. If so, the date will be on the
      photo identification and proof of social court docket.                                                           Call in number: 877−506−8679
      security number (or if applicable, Tax                                                                           Participant Code: 6439599
      ID). Creditors may attend, but are not
      required to do so.
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Debtor Annetta McCalla and Curtis McNeal                                                                                    Case number 22−13983−PDR
8. Deadlines                        Deadline to file a complaint to challenge                                Filing deadline: 8/22/22
    The bankruptcy clerk's office   dischargeability of certain debts:
   must receive these
   documents and any required       You must file:
   filing fee by the following      • a motion if you assert that the debtors are
   deadlines. Writing a letter to      not entitled to receive a discharge under
   the court or judge is not           U.S.C. § 1328(f) or
   sufficient.                      • a complaint if you want to have a particular
                                       debt excepted from discharge under
                                       11 U.S.C. § 523(a)(2) or (4).
                                    Deadline for all creditors to file a proof of claim                      Filing deadline: 7/29/22
                                    (except governmental units):
                                    Deadline for governmental units to file a proof of                       Filing deadline: 11/16/22
                                    claim:

   When Filing Proofs of            Deadlines for Filing Proof of Claim:
   Claim: If the debtor is not       A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
   represented by an attorney,      www.flsb.uscourts.gov or any bankruptcy clerk's office. If you do not file a proof of claim by the deadline, you
   you must serve copies of the     might not be paid on your claim. To be paid, you must file a proof of claim even if your claim is listed in the
   proof of claim including all     schedules that the debtor filed. If this is a converted case proofs of claim filed under the initial chapter shall be
   attachments on the debtor, via   deemed filed and need not be refiled.
                                    Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
   U.S. Mail, see Local Rule        claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
   3002−1(E). Claims may be         For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
   delivered or mailed to the       including the right to a jury trial.
   clerk's office. Creditors with
   internet access have the         Filing Deadline for a Creditor with a Foreign Address: The deadlines for filing proofs of claim in this notice
                                    apply to all creditors. If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
   option to use the electronic     asking the court to extend the deadline to file a proof of claim. See also box 10 below.
   claims filing program on the
   court website at
   www.flsb.uscourts.gov to         Deadline to Object to Exemptions:                                         Filing deadline:    30 days after the
   electronically file a proof of   The law permits debtors to keep certain property as exempt. Fully                             conclusion of the
   claim.                           exempt property will not be sold and distributed to creditors.                                meeting of creditors, or
                                    Debtors must file a list of property claimed as exempt. If you                                within 30 days of any
                                    believe that the law does not authorize an exemption that the                                 amendment to the list
                                    debtors claim, you may file an objection.                                                     of supplemental
                                                                                                                                  schedules, unless as
                                    The bankruptcy clerk's office must receive the objection by                                   otherwise provided
                                    the deadline to object to exemptions.                                                         under Bankruptcy Rule
                                                                                                                                  1019(2)(B) and Local
                                                                                                                                  Rule 4003−1(B) for
                                                                                                                                  converted cases.

9. Filing of Plan and Hearing       The hearing on confirmation will be held on: 8/1/22 at 09:00 AM, by VIDEO CONFERENCE. You must register
   on Confirmation                  in advance no later than 3:00 PM, one business day before the hearing. To register, click on or enter the
                                    following registration link in a browser:
                                    https://www.zoomgov.com/meeting/register/vJItcOqurD4qHUbwAimENeAkZ7QUKGhcZ7k
                                    If the debtor filed a Chapter 13 Plan, it is included with this notice. If no Plan is filed, the Plan will be mailed to
   Deadline to Object to            ALL parties in accordance with Local Rule 2002−1(C)(5).
   Confirmation                     At the confirmation hearing on the plan, the court will consider all timely objections to confirmation and any filed
                                    motions to dismiss or convert the case. Except for objections to confirmation based on valuation of collateral in
                                    the plan or objections to attorney fee claims, objections to confirmation of the plan must be in writing and
                                    filed no later than 14 days prior to the date first scheduled for hearing on confirmation, see Local Rule
                                    3015−3(B)(1).
   Attorney Fee Claims              Attorney fee applications and objections to attorney fees shall be heard at the confirmation hearing.
10. Creditors with a Foreign        Consult an attorney familiar with United States bankruptcy law if you have any questions about your rights in
    Address                         this case.

11. Filing a Chapter 13             Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    Bankruptcy Case                 according to a Plan. A Plan is not effective unless the Court confirms it. You may object to Confirmation of the
                                    Plan and appear at the Confirmation hearing. The Confimation hearing will be held on the date shown in box 9
                                    of this notice. The debtor will remain in possession of the property and may continue to operate the business, if
                                    any, unless the court orders otherwise.
12. Discharge of Debts              Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                    However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                    are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                    as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                    523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                    If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                    must file a motion. See box 8 for deadlines. The discharge will not be issued until the Official Bankruptcy Form
                                    "Certification About a Financial Management Course" is filed by the debtor (unless the course provider filed a
                                    certificate of completion of the financial management course on behalf of the debtor).
13. Option to Receive Notices       1) EBN program open to all parties. Register at the BNC website bankruptcynotices.uscourts.gov, OR 2) DeBN
    Served by the Clerk by          program open to debtors only. Register by filing with the Clerk of Court, Local Form "Debtor's Request to
                                    Receive Notices Electronically Under DeBN Program". There is no charge for either option. See also Local Rule
    Email Rather than U.S. Mail     9036−1(B) and (C).
14. Translating Services            Language interpretation of the meeting of creditors will be provided to the debtor at no cost, upon request to the
                                    trustee, through a telephone interpreter service. Persons with communications disabilities should contact the
                                    U.S. Trustee's office to arrange for translating services at the meeting of creditors.
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